Case 0:22-cr-60078-RAR Document 308 Entered on FLSD Docket 02/04/2025 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE No. 22-CR-60078-RUIZ(s)(s)

UNITED STATES OF AMERICA

vs.

WILBER VIGIL-BENITEZ,

Defendant.

Redacted Trial - Witness and Exhibit List

a ‘ble if . Brian Dobbins Joseph S. Rosenbaum, Esq.
Honorable Rodolfo A. Ruiz I Elena Smukler | Kimberly Acevedo, Esq.
Court Re ef: Courtroom Deputy:
USA No. a Cie anol Witness Ilona Lupowitz Graciela Gomez
1. 1/22/2025 Sgt. Michael Morris, Palm Beach Sheriff's Office
2. 1/22/2025 CSI Julie Chehab, Palm Beach Sheriff's Office
Deputy Christopher Grant, Palm Beach Sheriff's
3.
Office
4. Clint Williams, Broward Sheriffs Office
; 1/27/2025 Dr. Marcela Chisté, Palm Beach County Medical
~ Examiner’s Office
1/22/2025 Joanna Jackson or other Custodian of Records,
6. Allied Universal Electronic Monitoring
4 1/21/2025 Det. Casey Nelsen, Prince William County Police
, Department, Virginia
8. 1/22/2025 Robert Drake
9. Border Patrol Agent Juan Miranda, CBP
10. Border Patrol Agent Davis Hernandez, CBP
11. 1/23/2025 Det. Andrew Gianino, Broward Sheriff's Office
12. Maria Portillo
13. 1/28/2025 Jennifer Parker, Broward Sheriff's Office
14. 1/28/2025 Special Agent Nathan Ferguson, FBI
15. 1/22/2025 W.T.S.
16. 1/23/2025 W.V.G.
17. 1/27/2025 K.G.M.
18. 1/24/2025 M.D.C.O.

Case 0:22-cr-60078-RAR Document 308 Entered on FLSD Docket 02/04/2025 Page 2 of 4

Presiding Judge:
Honorable Rodolfo A. Ruiz II

AUSA: Defendant's Attomey:
Brian Dobbins _ | Joseph S. Rosenbaum, Esq.

Elena Smukler | Kimberly Acevedo, Esq.

Court Re er: Courtroom Deputy:
USAN- — a ee Witness Ilona Lupowitz Graciela Gomez
EXHIBITS

1/22/25 | 1/22/25 (A-I) Photographs of 19677 120 Avenue South,
I. Boca Raton, Florida

1/22/25 | 1/22/25 (A-J) Videos of 19677 120 Avenue South, Boca
2. Raton, Florida

1/22/25 | 1/22/25 (A-L) Photographs of G.V.P. at 19677 120%
>. Avenue South, Boca Raton, Florida

1/22/25 | 1/22/25 (A-E) Photographs of Drag Marks at19677 120°
4. Avenue South, Boca Raton, Florida
5. 1/22/25 | 1/22/25 (A-E) Photographs of Casing
6. 1/22/25 | 1/22/25 Casing
7. 1/22/25 | 1/22/25 (A-C) Photographs of Projectile
8. 1/22/25 | 1/22/25 Projectile
9. 1/22/25 | 1/22/25 (A-B) Photographs of tooth near G.V-P.

1/22/25 | 1/22/25 (A-S) Photographs of other items recovered near
10.

G.V.P.

11. 1/22/25 | 1/22/25 (A-D) Photographs of G.V-.P.’s wallet
12. 1/22/25 | 1/22/25 (A-R) Photographs of G.V-.P.’s clothing
13. 1/22/25 | 1/22/25 G.V.P.’s shirt
14. 1/22/25 | 1/22/25 G.V.P.’s pants
15. 1/22/25 | 1/22/25 G.V.P.’s boxers
16. 1/22/25 | 1/22/25 G.V.P.’s shoes
17. 1/22/25 | 1/22/25 W.T.S.’s Plea Agreement
18. 1/22/25 | 1/22/25 Phone belonging to W.T:S.

1/22/25 | 1/22/25 (A-E) MS-13 Rules belonging to W.T.S. and
19. Translation
20. 1/22/25 | 1/22/25 (A-I) Photos from phone belonging to W.T.S.
21. 1/22/25 | 1/22/25 Photo Line Up by W.T.S.
22. 1/22/25 | 1/22/25 Photo Line Up by W.T.S.
23. 1/22/25 | 1/22/25 Photo Line Up by W.T.S.
24. 1/22/25 | 1/22/25 Photo Line Up by W.T.S.
25. 1/22/25 | 1/22/25 Photo Line Up by W.T.S.
26. 1/22/25 | 1/22/25 Photo Line Up by W.T.S.
27. 1/22/25 | 1/22/25 Photo Line Up by W.T.S.
28. 1/22/25 | 1/22/25 Photo Line Up by W.T.S. — (Defendant)

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Honorable Rodolfo A. Ruiz II

AUSA: Defendant's Attomey:
Brian Dobbins _ | Joseph S. Rosenbaum, Esq.

Elena Smukler | Kimberly Acevedo, Esq.

Def.

Date

Date

Court Reporter: Courtroom Deputy:

USAN- No. Offered admitted Witness Ilona Lupowitz | Graciela Gomez
29. 1/22/25 | 1/22/25 Map of Chango’s House — Marked by W.T.S.
30. 1/22/25 | 1/22/25 GPS records for W.T.S. (Allied Universal)
1/23/25 | 1/23/25 (A-B) Defendant’s Post-Miranda Statement and
31. Translation — 1-18-2023
32. 1/23/25 | 1/23/25 Defendant’s Miranda Waiver Form — 1-18-2023
33. 1/23/25 | 1/23/25 Photo Line Up by Defendant
34. 1/24/25 | 1/24/25 Photo Line Up by Defendant
35. 1/24/25 | 1/24/25 Photo Line Up by Defendant
36. 1/24/25 | 1/24/25 Photo Line Up by Defendant
37. 1/24/25 | 1/24/25 Photo Line Up by Defendant
38. 1/24/25 | 1/24/25 Photo Line Up by Defendant
39. 1/24/25 | 1/24/25 Photo Line Up by Defendant
AO. Photo Line Up by Defendant
1/23/25 | 1/23/25 | 41-A (A-C) Social Media Photos shown to the
4. 1/24/25 | 1/24/25 | 41-B,41-C_ | Defendant
. (A-B) Defendant’s Post-Miranda Statement and
42. Translation — 6-28-2023
43. 1/24/25 | 1/24/25 Defendant’s Miranda Waiver Form — 6-28-2023
1/24/25 | 1/24/25 (A-G) Photos of Co-Conspirators Previously
“4. Identified Shown to the Defendant
45. 1/28/25 | 1/28/25 Photo Shown to Defendant
1/24/25 | 1/24/25 (A-G) Crime Scene Photos Shown to the
46.
Defendant
47. 1/28/25 | 1/28/25 Photo Line Up by Defendant (2)
48. 1/24/25 | 1/24/25 Defendant’s Consent to Provide DNA
49. 1/27/25 | 1/27/25 M.C.O.’s Plea Agreement
50. 1/24/25 | 1/24/25 Photo Line Up by M.C.O.
51. 1/24/25 | 1/24/25 Photo Line Up by M.C.O.
52. 1/24/25 | 1/24/25 Photo Line Up by M.C.O.
53. 1/24/25 | 1/24/25 Photo Line Up by M.C.O.
54. 1/24/25 | 1/24/25 Photo Line Up by M.C.O.
55. 1/24/25 | 1/24/25 Photo Line Up by M.C.O.
56. 1/24/25 | 1/24/25 Photo Line Up by M.C.O.
57. 1/24/25 | 1/24/25 Photo Line Up by M.C.O.
58. 1/24/25 | 1/24/25 Photo Line Up by M.C.O. (Defendant)
59. 1/24/25 | 1/24/25 Photo of homicide victim shown to M.C.O.
60. 1/24/25 | 1/24/25 Photo of homicide victim shown to M.C.O.

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AUSA: Defendant's Attomey:
Brian Dobbins _ | Joseph S. Rosenbaum, Esq.

Elena Smukler | Kimberly Acevedo, Esq.

Def.

Date

Date

Court Reporter: Courtroom Deputy:

USAN- No. Offered admitted Witness Ilona Lupowitz | Graciela Gomez
61. 1/24/25 | 1/24/25 Photo of car belonging to shown to M.C.O.
62. 1/24/25 | 1/24/25 (A-D) Crime Scene Photos shown to M.C.O.
63. 1/27/25 | 1/27/25 K.G.M.’s Plea Agreement
64. 1/27/25 | 1/27/25 Photo Line Up by K.G.M
65. 1/27/25 | 1/27/25 Photo Line Up by K.G.M.
66. 1/27/25 | 1/27/25 Photo Line Up by K.G.M.
67. 1/27/25 | 1/27/25 Photo Line Up by K.G.M.
68. 1/27/25 | 1/27/25 Photo Line Up by K.G.M.
69. 1/27/25 | 1/27/25 Photo Line Up by K.G.M.
70. 1/27/25 | 1/27/25 Photo Line Up by K.G.M.
71. 1/27/25 | 1/27/25 Photo Line Up by K.G.M. (Defendant)
72. Photos of MS-13 members identified by K.G.M.
73. 1/23/25 | 1/23/25 (A-B) Photographs of the Defendant
74. 1/28/25 | 1/28/25 Certified Vehicle Registration — Mitsubishi
75. 1/28/25 | 1/28/25 Certified Vehicle Registration — Toyota
76. 1/27/25 | 1/27/25 (A-C) Autopsy Photos
77. 1/27/25 | 1/27/25 (A-H) Medical Examiner’s Diagrams
78. 1/23/25 | 1/23/25 Photo Line Up by W.V.G.
1/27/25 | 1/27/25 | B,C Photo of Toyota from Facebook account
1. 1/28/25 | 1/28/25 |A belonging to“ ”
80. eee hoe t throwh R (A-T) Photos from Defendant’s Facebook account
81. 1/27/25 | 1/27/25 (A-B) Controlled Call to K.G.M.
82. 1/21/25 | 1/21/25 (A-B) MS-13 Organizational Chart
83. 1/22/25 | 1/22/25 Chart of MS-13 Members
84. 1/23/25 | 1/23/25 W.V.G.'s Plea Agreement
85. 1/28/25 | 1/28/25 (A-F) Maps
86. 1/27/25 | 1/27/25 Stipulation
87. 1/27/25 | 1/27/25 Statement (M.C.O.)
88. 1/27/25 | 1/27/25 Translation from Statement
D-1 | 1/22/25 | 1/22/25 W.T.S.’s Factual Proffer

